  Case 20-10015         Doc 32      Filed 03/24/20 Entered 03/24/20 16:21:26                  Desc Main
                                      Document     Page 1 of 3


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


  In re:



  BOWSER, ADAM                                                  20-10015
                                                                Chapter 7


                         Debtor.



                  NOTICE OF RESET SECTION 341 MEETING OF CREDITORS


        YOU ARE HEREBY NOTIFIED that the initial section 341 meeting of creditors for the above-
captioned case, scheduled as an in-person 341 meeting for 03/18/20 at 10:00 AM will now be reset as a
telephonic meeting and conducted by telephone conference on 04/03/20 at 10:00 AM.


        All parties shall appear by phone at the section 341 in accordance with the instructions below.


        Call-in Information:


        On the date and time set forth above, parties shall dial-in to the meeting using the following
dialing instructions:


                 Meeting Dial-in No (877) 950-2406, and when prompted, enter the
                 Participant Code: 5045397 followed by #.


        To avoid confusion or technical difficulties, attendees are instructed to call in at the Designated
Meeting Time, not before that time, and to disconnect the call after their meeting is concluded. Thank
you for you anticipated cooperation in this regard.
  Case 20-10015       Doc 32     Filed 03/24/20 Entered 03/24/20 16:21:26             Desc Main
                                   Document     Page 2 of 3




                          Instructions for Testifying Debtors and Counsel


       No later than one day prior to the Designated Meeting time, the debtor and/or their
counsel are required to email the trustees with an imaged copy of the debtor’s photo
identification and proof of the debtor’s social security number (“Identification Documents”) A
copy of the Debtor’s identification and proof of social security number must be provided to the
trustee via a secure method, i.e., portal, encrypted email, etc. Identification Documents shall be
those documents deemed acceptable in accordance with current applicable procedures.


       Telephonic appearances shall be conducted in accordance with current applicable
procedures for telephonic meetings. Accordingly, a Declaration Regarding Administration of
Oath and Confirmation of Identity and Social Security Number form shall be completed by the
individual performing this function and transmitted to the trustee immediately following the
meeting. Contact Trustee to obtain this form.


       Alternatively, if compliance with the procedures set forth above are not possible or
practical under these emergent circumstances, the debtor’s attorney shall submit prior to the time
of the scheduled meeting a declaration confirming that: (1) the attorney met with the debtor in-
person; and (2) the attorney examined and verified the debtor’s original identification documents
and social security number. In such situations, upon notification by the debtor and/or their
counsel that they are using the alternate procedures, the trustee will administer the oath
telephonically at the commencement of the 341 meeting. Contact Trustee to obtain this form.




Date: 3/24/2020                                       /s/Donald R. Lassman
                                                      Chapter 7 Trustee
                                                      POB 920385
                                                      Needham, MA 02492
                                                      781-455-8400 phone and fax
                                                      Don@Lassmanlaw.com
  Case 20-10015        Doc 32      Filed 03/24/20 Entered 03/24/20 16:21:26              Desc Main
                                     Document     Page 3 of 3



                                  CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on March 24, 2020, a copy of the foregoing Notice of Section 341

Meeting of Creditors was served by email through the Court’s ECF system to all entities and

interested parties that are registered users thereof in this case, and by first class mail, postage pre-

paid, to all parties requesting notice in this case.


Date: 3/24/2020                                                 /s/Donald R. Lassman
